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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Heather Rooks,                                    No. CV-23-02028-PHX-MTL
10                  Plaintiff,                         ORDER
11   v.
12   Peoria Unified School District,
13                  Defendant.
14
15            The Court having reviewed the Notice of Withdrawal (Doc. 46), and good cause
16   appearing,

17            IT IS ORDERED granting Notice of Withdrawal (Doc. 26) and allowing Lea E.
18   Patterson to withdraw as attorney of record for the plaintiff, and be relieved of ay future

19   professional obligation, responsibility, or duty to the defendant.

20            Dated this 16th day of August, 2024.
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